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                                   IN THE UNITED STATES BANKRUPTCY COURT
                                      FOR THE DISTRICT OF DELAWARE

                                                                   Chapter 7
              In re:
                                                                   Case No. 19-12153 (KBO)
              BAYOU STEEL BD HOLDINGS, LLC, et                     (Jointly Administered)
              al.,

                                           Debtors,


              GEORGE L. MILLER, in his capacity as
              Chapter 7 Trustee for the jointly administered
              bankruptcy estates of Bayou Steel BD
              Holdings, LLC, et al.,

                                           Plaintiff,               Adv. No. 21-51013 (KBO)

                   v.

              BLACK DIAMOND CAPITAL
              MANAGEMENT, LLC; BDCM
              OPPORTUNITY FUND IV, L.P.; BLACK
              DIAMOND COMMERCIAL FINANCE,
              LLC; SAM FARAHNAK; PHIL
              RAYGORODETSKY; ROB
              ARCHAMBAULT; TERRY TAFT; and BOB
              UNFRIED,

                                           Defendants.


                                               NOTICE OF SERVICE

                   Please take notice that true and correct copies of Black Diamond Defendants’ First Set Of

        Requests For Production Of Documents To Plaintiff George L. Miller, In His Capacity As Chapter

        7 Trustee were served on September 21, 2023 by electronic mail upon the following individuals:




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        PACHULSKI STANG ZIEHL & JONES LLP                    BENESCH, FRIEDLANDER, COPLAN
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        Counsel for Plaintiff George L. Miller,
        in his capacity as Chapter 7 Trustee for the
         jointly administered bankruptcy estates
        of Bayou Steel BD Holdings, L.L.C., et al.


        September 21, 2023
                                                       FOX ROTHSCHILD LLP


                                                       /s/ Seth A. Niederman
                                                       Seth A. Niederman(DE No . 4588)
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                                                       Counsel to Black Diamond Defendants




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                                        CERTIFICATE OF SERVICE


               I hereby certify that on September 21, 2023, the foregoing Notice of Service was served

        via the Court’s CM/ECF electronic filing system on all parties registered to receive such notice,

        and in the manner indicated on the attached service list.


                                                             /s/ Seth A. Niederman
                                                             Seth A. Niederman (DE No. 4588)




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                                      SERVICE LIST (all via E-mail)

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        Counsel for Plaintiff George L. Miller,
        in his capacity as Chapter 7 Trustee for the
         jointly administered bankruptcy estates
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